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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   CLARKSBURG


  UNITED STATES OF AMERICA,

                        Plaintiff,

  v.                                                 Case No.: 1:17-CR-32-23
                                                     (JUDGE KEELEY)

  BRANDY MILLER,

                        Defendant.



                         REPORT AND RECOMMENDATION
                    CONCERNING PLEA OF GUILTY IN FELONY CASE


          This matter has been referred to the undersigned Magistrate Judge by the

   District Court for purposes of conducting proceedings pursuant to Federal Rule of

   Criminal Procedure 11 (ECF. No. 679). Defendant, Brandy Miller, in person and by

   counsel, Jeff Harris, appeared before me on November 1, 2017. The Government

   appeared by Assistant United States Attorney, Zelda Wesley. The Court determined

   that Defendant was prepared to enter a plea of "Guilty" to Count One Hundred

   Sixteen (116) o f t h e S u p e r s e d i n g Indictment.

          The Court proceeded with the Rule 11 proceeding by first placing Defendant

   under oath and inquiring into Defendant’s competency. The Court determined

   Defendant was competent to proceed with the Rule 11 plea hearing and cautioned

   and examined Defendant under oath concerning all matters mentioned in Rule 11.

          The Court next inquired of Defendant concerning her understanding of her

   right to have an Article III Judge hear the entry of her guilty plea and her
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   understanding of the difference between an Article III Judge and a Magistrate

   Judge. Defendant thereafter stated in open court that she voluntarily waived her

   right to have an Article III Judge hear her plea and voluntarily consented to the

   undersigned Magistrate Judge hearing her plea. Defendant tendered to the Court a

   written Waiver of Article III Judge and Consent to Enter Guilty Plea before

   Magistrate   Judge.    The waiver and consent         was    signed by Defendant,

   countersigned by Defendant's counsel, and concurred by the signature of the

   Assistant United States Attorney.

         Upon consideration of the sworn testimony of Defendant, as well as the

   representations of her counsel and the representations of the Government, the

   Court finds that the oral and written waiver of an Article III Judge and consent to

   enter a guilty plea before a Magistrate Judge was freely and voluntarily given.

   Additionally, the Court finds that the written waiver and consent was freely and

   voluntarily executed by Defendant Brandy Miller only after having had her rights fully

   explained to her and having a full understanding of those rights through consultation

   with her counsel, as well as through questioning by the Court.            The Court

   ORDERED the written Waiver and Consent to Enter Guilty Plea before a Magistrate

   Judge filed and made part of the record.

         Thereafter, the Court determined that Defendant's plea was pursuant to a

   written plea agreement, and asked the Government to tender the original to the Court.

   The Court asked counsel for the Government if the agreement was the sole

   agreement offered to Defendant.      The Government responded that it was, and


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   counsel for Defendant confirmed the same.          The Court asked counsel for the

   Government to summarize the written plea agreement. Counsel for Defendant and

   Defendant stated that the agreement as summarized by counsel for the Government

   was correct and complied with their understanding of the agreement. The

   undersigned further inquired of Defendant regarding her understanding of the written

   plea agreement. Defendant stated she understood the terms of the written plea

   agreement and also stated that it contained the whole of her agreement with the

   Government and no promises or representations were made to her by the

   Government other than those terms contained in the written plea agreement. The

   Court ORDERED the written plea agreement filed.

         The undersigned then reviewed with Defendant Count One Hundred Sixteen

   (116) of the superseding Indictment and the elements the Government would have

   to prove, charging her with Unlawful Use of a Communication Facility in violation of

   21 U.S.C. § 843(b). Subsequently, Defendant Brandy Miller pled GUILTY to the

   charge contained in Count One Hundred Sixteen (116) of the superseding Indictment.

   However, before accepting Defendant’s plea, the undersigned inquired of

   Defendant’s understanding of the charges against her, inquired of Defendant’s

   understanding of the consequences of her pleading guilty to the charges, and

   obtained the factual basis for Defendant’s plea.

         The Government proffered a factual basis for the plea explaining      Neither

   counsel for Defendant nor Defendant disputed the proffer when given the opportunity

   to do so. Defendant stated she heard, understood, and did not disagree with the


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   Government's proffer.    Additionally, Defendant provided a factual basis for the

   commission of the offense.      The undersigned Magistrate Judge concludes the

   offense charged in Count One Hundred Sixteen (116) of the superseding Indictment

   is supported by an independent basis in fact concerning each of the essential

   elements of such      offense, and that independent basis is provided by the

   Government’s proffer.

         The undersigned then reviewed with Defendant the statutory penalties

   applicable to an individual adjudicated guilty of the felony charge contained in Count

   One Hundred Sixteen (116) of the superseding Indictment and the impact of the

   sentencing guidelines on sentencing in general. From said review, the undersigned

   Magistrate Judge determined Defendant understood the nature of the charges

   pending against her and that the possible statutory maximum sentence which could

   be imposed upon her conviction or adjudication of guilty on Count One Hundred

   Sixteen (116) was not more than four (4) years imprisonment. The undersigned

   further determined Defendant understood a fine of not more than $250,000.00 could

   be imposed, both fine and imprisonment could be imposed, she would be subject to

   a period of at least three (3) years of supervised release, and the Court would

   impose a special mandatory assessment of $100.00 for the felony conviction

   payable on or before the date of sentencing.     Defendant also understood that

   her sentence could be increased if she had a prior firearm offense, violent felony

   conviction, or prior drug conviction. She also understood she might be required by

   the Court to pay the costs of her incarceration, supervision, and probation.


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        The undersigned also informed Defendant whether she understood that by

   pleading guilty she was forfeiting other rights such as the right to vote, the right to

   serve on a jury, and the right to legally possess a firearm.

        Additionally, the undersigned asked Defendant whether she understood that if

   she were not a citizen of the United States, by pleading guilty to a felony charge she

   would be subject to deportation at the conclusion of any sentence; that she would be

   denied future entry into the United States; and that she would be denied citizenship if

   she ever applied for it. Defendant stated that she understood.

          The undersigned also reviewed with Defendant her waiver of appellate and

   collateral attack rights.   Defendant understood that she was waiving her right to

   appeal her conviction and sentence to the Fourth Circuit Court of Appeals on any

   ground whatsoever, including those grounds set forth in 18 U.S.C. § 3742.

   Defendant further understood that under her plea agreement, she was waiving her

   right to challenge her conviction and sentence in any post-conviction proceeding,

   including any proceeding under 28 U.S.C. § 2255.               Defendant understood,

   however, that she was reserving the right to raise claims of ineffective assistance of

   counsel or prosecutorial misconduct that she learned about after the plea hearing

   and agreed that she was unaware of any ineffective assistance of counsel or

   prosecutorial misconduct in her case at this time. From the foregoing, the

   undersigned determined that Defendant understood her appellate rights and

   knowingly gave up those rights pursuant to the conditions contained in the written

   plea agreement.

          The undersigned Magistrate Judge further examined Defendant relative to her

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   knowledgeable and voluntary execution of the written plea bargain agreement, and

   determined   the entry into said written plea bargain agreement was both

   knowledgeable and voluntary on the part of Defendant.

         The undersigned Magistrate Judge further inquired of Defendant, her

   counsel, and the Government as to the non-binding recommendations and

   stipulations contained in the written plea bargain agreement and determined that

   Defendant understood, with respect to the plea bargain agreement and to

   Defendant's entry of a plea of guilty to the felony charge contained in Count One

   Hundred Sixteen (116) of the superseding Indictment. The undersigned Magistrate

   Judge informed Defendant that he would write the subject Report and Recommendation

   and a pre-sentence investigation report w o u l d be prepared by the probation

   officer attending the District Court. The undersigned advised the Defendant that

   the District Judge would adjudicate the Defendant guilty of the felony charged under

   Count One Hundred Sixteen (116)      of the superseding Indictment. Only after the

   District Court had an opportunity to review the pre-sentence investigation report,

   would the District Court make a determination as to whether to accept or reject any

   recommendation or stipulation contained within the plea agreement or pre-sentence

   report. The undersigned reiterated to Defendant that the District Judge may not

   agree with the recommendations or stipulations contained in the written agreement.

   The undersigned Magistrate Judge further advised Defendant, in accord with Federal

   Rule of Criminal Procedure 11, that in the event the District Court Judge refused to

   follow the non-binding recommendations or stipulations contained in the written


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   plea agreement and/or sentenced her to a sentence which was different from that

   which she expected, she would not be permitted to withdraw her guilty plea.

   Defendant and her counsel each acknowledged their understanding and Defendant

   maintained her desire to have her guilty plea accepted.

         Defendant also understood that her actual sentence could not be calculated

   until after a pre­sentence report was prepared and a sentencing hearing conducted.

   The undersigned also advised, and Defendant stated that she understood, that the

   Sentencing Guidelines are no longer mandatory, and that, even if the District Judge

   did not follow the Sentencing Guidelines or sentenced her to a higher sentence than

   she expected, she would not have a right to withdraw her guilty plea. Defendant

   further stated that her attorney showed her how the advisory guideline chart worked

   but did not promise her any specific sentence at the time of sentencing.   Defendant

   stated that she understood her attorney could not predict or promise her what actual

   sentence she would receive from the sentencing judge at the sentencing hearing.

   Defendant further understood there was no parole in the federal system, but that

   she may be able to earn institutional good time, and that good time was not

   controlled by the Court, but by the Federal Bureau of Prisons.

         Defendant, Brandy Miller, with the consent of her counsel, Jeff Harris

   proceeded to enter a verbal plea of GUILTY to the felony charge in Count One

   Hundred Sixteen (116) of the superseding Indictment.

         Upon consideration of all of the above, the undersigned Magistrate Judge

   finds that Defendant is fully competent and capable of entering an informed plea;


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   Defendant is aware of and understood her right to have an Article Ill Judge hear and

   accept her plea and elected to voluntarily consent to the undersigned United States

   Magistrate Judge hearing her plea; Defendant understood the charges against her,

   not only as to the superseding Indictment as a whole, but in particular as to Count One

   Hundred Sixteen (116) of the superseding Indictment; Defendant understood the

   consequences of her plea of guilty, in particular the maximum statutory penalty to

   which she would be exposed for Count One Hundred Sixteen (116); Defendant

   made a knowing and voluntary plea of guilty to Count One Hundred Sixteen (116) of

   the superseding Indictment; and Defendant's plea is independently supported by The

   Government's proffer which provides, beyond a reasonable doubt, proof of each of

   the essential elements of the charges to which Defendant has pled guilty.

         The undersigned Magistrate Judge therefore recommends Defendant's plea of

   guilty to Count One Hundred Sixteen (116) of the superseding Indictment herein be

   accepted conditioned upon the Court's receipt and review of this Report and

   Recommendation.

         The undersigned magistrate judge released Defendant on the terms of the

   Order Setting Conditions of Release (Dkt. No. 266) filed on June 8, 2017,

         Any party may, within fourteen (14) days after being served with a copy of this

   Report and Recommendation, file with the Clerk of the Court written objections

   identifying the portions of the Report and Recommendation to which objection is

   made, and the basis for such objection. A copy of such objections should also be

   submitted to the Honorable Irene M. Keeley, United States District Judge.    Failure to


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   timely file objections to the Report and Recommendation set forth above will result

   in waiver of the right to appeal from a judgment of this Court based upon such

   report and recommendation.     28 U.S.C. § 636(b)(l); United   States v. Schronce,

   727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins,

   766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

         The Clerk of the Court is DIRECTED to send a copy of this Report and

   Recommendation to counsel of record.


   Respectfully submitted on November 1, 2017.




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